                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                at CHATTANOOGA

 UNITED STATES OF AMERICA,                     )
                                               )
 Plaintiff,                                    )
                                               )          Case No. 1:13-cr-128
 v.                                            )
                                               )          Judge Mattice
 JOHNNY CALDWELL, JR.,                         )          Magistrate Judge Lee
                                               )
 Defendant.                                    )
                                               )

                                        ORDER

        On July 17, 2014, United States Magistrate Judge Susan K. Lee filed her Report

 and Recommendation (Doc. 165) pursuant to 28 U.S.C. § 636(b)(1). In her Report and

 Recommendation, Magistrate Judge Lee recommended that Defendant’s Motion to

 Suppress Wiretap Evidence (Doc. 123) be denied. On July 31, 2014, Defendant filed

 timely objections to the Report and Recommendation. (Doc. 172). On August 26, 2014,

 a Superseding Indictment was filed in this case. (Doc. 188). On October 21, 2014,

 Defendant filed a Motion to Reaffirm and Adopt Previously-Filed Motions. (Doc. 217).

 Defendant’s Motion to Reaffirm and Adopt Previously-Filed Motions (Doc. 217) is

 hereby GRANTED and the Court will proceed to consider Defendant’s objections.

        In his objections, Defendant objects to Magistrate Judge Lee’s Report and

 Recommendation based on two issues that were initially raised in his Motion to

 Suppress Wiretap Evidence.      (Id. at 1).       First, Defendant asserts that there was

 insufficient information in the affidavit to establish that an investigation would likely

 produce evidence of the targeted crime. (Id.). Second, Defendant asserts that the




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 affidavit in support of the application and order was “impermissibly conclusory.” (Id.). 1

 Magistrate Judge Lee reviewed the affidavit and found Defendant’s arguments to be

 without merit. See Doc. 165 at 5, 11.

        The Court’s de novo review results in the same conclusion reached by Magistrate

 Judge Lee and further discussion of these issues is not warranted, given the thorough

 and well-reasoned conclusions set forth in the Report and Recommendation.

 Defendant’s objections to Magistrate Judge Lee’s Report and Recommendation will thus

 be OVERRULED.

        Accordingly, Magistrate Judge Lee’s Report and Recommendation (Doc. 165) is

 hereby ACCEPTED and ADOPTED, Defendant’s Objections (Doc. 172) are

 OVERRULED, and Defendant’s Motion to Suppress Wiretap Evidence (Doc. 123) is

 DENIED.



        SO ORDERED this 13th day of November, 2014.




                                                          /s/ Harry S. Mattice, Jr._____
                                                        HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE




 1 Although Defendant had raised a third ground for suppression in his Motion, he conceded in his
 objections that he could not “overcome” Magistrate Judge Lee’s Report and Recommendation regarding
 that issue. (Doc. 172 at 1).

                                                 2

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